                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

GUADALUPE ADAMS,                                     )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       Case No.: 6:15-cv-03265-MDH
                                                     )
ROOMS 4U, LLC,                                       )
                                                     )
                Defendant.                           )


                                   ORDER OF DISMISSAL

       Pursuant to the stipulation of dismissal filed by the parties in this matter (Doc. 29), and in

accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), all claims in this matter are

hereby DISMISSED WITH PREJUDICE and each party shall bear its own costs.


IT IS SO ORDERED.
Date: April 1, 2016                                    /s/ Douglas Harpool_______________
                                                     DOUGLAS HARPOOL
                                                     UNITED STATES DISTRICT JUDGE




            Case 6:15-cv-03265-MDH Document 30 Filed 04/01/16 Page 1 of 1
